            Case 3:16-cv-00674-MPS Document 7 Filed 08/23/16 Page 1 of 14



                              UNITED STATES DISTRICT COURT

                                  DISTRICT OF CONNECTICUT

JEFFREY DEANGELIS,                               :
     Plaintiff,                                  :
                                                 :
       v.                                        :     Case No. 3:16cv674(MPS)
                                                 :
WARDEN SANTIAGO, ET AL.,                         :
    Defendants.                                  :

                                   INITIAL REVIEW ORDER

       The plaintiff, Jeffrey DeAngelis, is incarcerated at the MacDougall-Walker Correctional

Institution in Suffield, Connecticut. He has filed a complaint naming Warden Antonio Santiago,

Deputy Warden Martin, Commissioner Scott Semple, Correctional Officers Murphy and Colby,

Intelligence Officer Lamotte, Property Officers Muckle and Kudzal, Administrative Remedy

Coordinators Michelle King and Kimberly Daly, Lieutenant Field and Statewide Property

Liaison Rivera as defendants. For the reasons set forth below, the complaint is dismissed in part.

   I. Legal Standard

       Pursuant to 28 U.S.C. § 1915A(b), the Court must review prisoner civil complaints

against governmental actors and “dismiss . . . any portion of [a] complaint [that] is frivolous,

malicious, or fails to state a claim upon which relief may be granted,” or that “seeks monetary

relief from a defendant who is immune from such relief.” Id. Rule 8 of the Federal Rules of

Civil Procedure requires that a complaint contain “a short and plain statement of the claim

showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2).

       Although detailed allegations are not required, “a complaint must contain sufficient

factual matter, accepted as true, to state a claim to relief that is plausible on its face. A claim has

facial plausibility when the plaintiff pleads factual content that allows the court to draw the
          Case 3:16-cv-00674-MPS Document 7 Filed 08/23/16 Page 2 of 14



reasonable inference that the defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal,

556 U.S. 662, 678 (2009) (internal quotation marks and citations omitted). A complaint that

includes only “‘labels and conclusions,’ ‘a formulaic recitation of the elements of a cause of

action’ or ‘naked assertion[s]’ devoid of ‘further factual enhancement,’” does not meet the facial

plausibility standard. Id. (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555, 557 (2007)).

Although courts still have an obligation to interpret “a pro se complaint liberally,” the complaint

must include sufficient factual allegations to meet the standard of facial plausibility. See Harris

v. Mills, 572 F.3d 66, 72 (2d Cir. 2009) (citations omitted).

   II. Plaintiff’s Allegations

       The plaintiff claims that on December 29, 2015 at Corrigan-Radgowski Correctional

Institution (“Corrigan-Radgowski”), Correctional Officers Murphy and Colby entered his cell

and began to search it. The plaintiff complained about Officer Murphy chewing tobacco and

spitting it out in his cell. During the search, Officer Murphy found a cup of liquid that smelled

like it contained an alcoholic substance. The plaintiff allegedly admitted to Lieutenant Field that

the cup of liquid belonged to him. Prison officials issued the plaintiff a disciplinary report for

possessing an intoxicating substance. Lieutenant Field placed the plaintiff in a cell in the

restrictive housing unit. Prison officials released the plaintiff from the restrictive housing unit

on January 2, 2016.

       Upon his release, the plaintiff did not receive any of the personal property that had been

in his cell prior to the search and his transfer to the restrictive housing unit. Administrative

Remedy Coordinator King refused to permit the plaintiff to go to the property room to retrieve

his personal property.


                                                  2
         Case 3:16-cv-00674-MPS Document 7 Filed 08/23/16 Page 3 of 14



       On January 4, 2016, Intelligence Officer Lamotte issued the plaintiff another disciplinary

report for contraband allegedly found in his cell on December 29, 2015. The plaintiff claims

that this additional report violated Department of Correction Administrative Directives that

prohibited multiple disciplinary reports for the same offense arising out of the same incident. The

plaintiff alleges that Intelligence Officer Lamotte “maliciously changed the date of the ticket to

January 4, 2016,” and told the plaintiff to “stop messing with our dip,” referring to the plaintiff’s

repeated complaints about the use of tobacco by staff. (ECF No. 1 at 7.) Prison officials found

the plaintiff guilty of the offense and sanctioned him to ten days of risk reduction earned credits.

Prison officials released the plaintiff from the restrictive housing unit on January 8, 2016.

       The plaintiff claims that on December 29, 2015, Intelligence Officer Lamotte removed

his personal property from his cell and did not inventory it. Lieutenant Field incorrectly listed

another officer as having packed and inventoried the plaintiff’s property. On January 8, 2016,

the plaintiff went to retrieve his property from the property room. Property Officer Kudzal

informed the plaintiff that his Nike sneakers had been confiscated because they cost more than

$100.00. Property Officer Kudzal provided the plaintiff with a receipt indicating that he had

thirty days to arrange to send his sneakers out of the facility or to have them picked up. The

plaintiff informed Property Officer Kudzal that he had been permitted to possess the Nike

sneakers pursuant to a decision made by Commissioner Semple and that he had a receipt

indicating the sneakers only cost $89.90.

       After reviewing the items of property provided to him by Property Officer Kudzal, the

plaintiff noticed that his Nintendo machine, 5 games, his headphones and all of his clothing were

missing. Property Officer Kudzal informed the plaintiff that he did not know who had packed


                                                  3
         Case 3:16-cv-00674-MPS Document 7 Filed 08/23/16 Page 4 of 14



his property and Property Officer Muckle had not prepared an inventory of the property when it

was delivered to the property room. Officer Kudzal did find an inventory of the plaintiff’s

property from November 20, 2015.

       The plaintiff claims that he wrote to Warden Santiago and Deputy Warden Martin on

December 29, 2015, regarding the use of chewing tobacco by officers at Corrigan-Radgowski

and the fact that he had been recording dates and times when officers had used chewing tobacco.

The plaintiff contends that inmates would take the discarded chewing tobacco from trash cans in

the prison facility, dry it out and then smoke it. The plaintiff asserts that he has been exposed to

tobacco smoke when it came through the vents into his cell and housing unit. The plaintiff

claims that the defendants had confiscated his sneakers in retaliation for the grievances that he

had filed about tobacco use by correctional staff.

       On February 2, 2016, Commissioner Semple directed Warden Santiago to return the

plaintiff’s Nike sneakers to him because they were part of a settlement agreement. Deputy

Warden Martin later informed the plaintiff that his sneakers would not be returned to him.

       On February 5, 2016, Property Officer Muckle provided the plaintiff with a memorandum

indicating that the sneakers would not be returned to him because they had been altered and

informing the plaintiff that he had thirty days to mail them out of the facility or to have them

picked up at the facility. Deputy Warden Martin signed off on this memorandum.

       On February 8, 2016, Administrative Remedy Coordinator King assisted the plaintiff in

completing paperwork to send the sneakers to Commissioner Semple in order to disprove the

allegation that he had altered the sneakers. In early March 2016, the plaintiff sent letters to

Administrative Remedy Coordinator King and Warden Santiago regarding his request to have his


                                                  4
          Case 3:16-cv-00674-MPS Document 7 Filed 08/23/16 Page 5 of 14



sneakers mailed to Commissioner Semple. On March 7, 2016, Warden Santiago denied the

plaintiff’s request to send the sneakers to Commissioner Semple.

        The plaintiff filed a grievance regarding the confiscation of his sneakers. On February

15, 2016, Administrative Remedy Coordinator Daly returned the grievance and instructed the

plaintiff to file a claim with the lost property board. The plaintiff submitted a lost property

investigation form regarding his sneakers on February 16, 2016. On March 7, 2016, the plaintiff

submitted a lost property investigation form regarding his Nintendo machine, games,

headphones, and clothing. On March 8, 2016, the plaintiff learned from Statewide Property

Liaison Rivera that officials had disposed of his sneakers because the thirty day deadline for

either sending them out of prison or having someone pick them up had expired.

        On March 14, 2016, the plaintiff filed a lost property investigation form regarding his

sneakers with Administrative Remedy Coordinator King. She allegedly failed to process the

form.

        On March 20, 2016, the plaintiff submitted another lost property investigation form

regarding his Nintendo machine, games, headphones, and clothing. The plaintiff has not

received a response to the filing of this form.

        For relief, the plaintiff seeks monetary damages as well as injunctive relief. Specifically,

the plaintiff seeks an order banning the use of all tobacco products in any correctional facility,

that he be transferred to another prison facility, and that his property be returned to him.

   III. Discussion

        A.     Property Claims

        The plaintiff alleges that the defendants deprived him of his personal property in


                                                  5
           Case 3:16-cv-00674-MPS Document 7 Filed 08/23/16 Page 6 of 14



violation of his constitutional rights under the Fifth and Fourteenth Amendments. The Supreme

Court has found that the Due Process Clause of the Fourteenth Amendment is not violated when

a prison inmate loses personal belongings due to the negligent or intentional actions of

correctional officers if the state provides an adequate post-deprivation compensatory remedy.

See Hudson v. Palmer, 468 U.S. 517, 533 (1984); Parratt v. Taylor, 451 U.S. 527, 543 (1981).

The holding in Hudson is also applicable to claims that the defendants deprived an inmate of his

or her property without due process of law in violation of the Fifth Amendment. See Crum v.

Dupell, No. 9:06-CV-512 (FJS/GJD), 2008 WL 902177, at *4 (N.D.N.Y. Mar. 31, 2008) (citing

cases).

          The State of Connecticut provides an adequate remedy for the kind of deprivation the

plaintiff alleges. See State of Connecticut Department of Correction Administrative Directive

9.6(16) (Aug. 15, 2013) (providing Department of Correction’s “Lost Property Board shall hear

and determine any claim by an inmate in a correctional facility who seeks compensation not to

exceed . . . ($3,500.00) for lost or damaged personal property” and that inmate may pursue his

property claim with the Connecticut Claims Commissioner if the Board denies the claim

completely or in part); (Conn. Gen. Stat. § 4-141 et seq. (providing that claims for payment or

refund of money by the state may be presented to the Connecticut Claims Commission); see also,

e.g., S. v. Webb, 602 F. Supp. 2d 374, 386 (D. Conn. 2009) (finding Connecticut has sufficient

post-deprivation remedies for seizures of property by state officials). This state remedy is not

rendered inadequate simply because plaintiff anticipates a more favorable remedy in federal

court or it may take a longer time under the state system before his case is resolved. See Hudson,

468 U.S. at 535.


                                                 6
            Case 3:16-cv-00674-MPS Document 7 Filed 08/23/16 Page 7 of 14



          The plaintiff alleges that he submitted multiple lost property forms in February and

March 2016 regarding his sneakers and his missing Nintendo machine, games, headphones, and

clothing pursuant to State of Connecticut Department of Correction Administrative Directive

9.6(16)B. The plaintiff states that he did not receive a response from the Lost Property Board

after he submitted the forms. Administrative Directive 9.16 does not require the Lost Property

Board to provide a receipt or confirmation notice when a claim is filed. Furthermore, the Lost

Property Board is permitted up to one year from the date of receipt of an inmate’s lost property

claim to render a decision. In addition, the year limit may be extended for good cause shown.

See id. at 9.16(16)E. The plaintiff’s complaint was filed on May 2, 2016. Thus, the time for

processing the plaintiff’s lost property claims had not expired at the time the plaintiff filed this

action.

          The plaintiff has not alleged that the Department of Correction’s procedures for

processing property claims are inadequate. See Edwards v. Erfe, 588 F. App’x 79, 80-81 (2d Cir.

2015) (affirming dismissal of inmate’s deprivation of property claim on the ground that the

inmate had not alleged that process provided by the State of Connecticut, including the

opportunity to seek relief through the Office of the Claims Commissioner, was inadequate). The

property claims against the defendants are dismissed for failure to state a claim upon which relief

may be granted. See 28 U.S.C. § 1915A(b)(1).

          B.     Retaliation Claims

          The plaintiff alleges that the defendants retaliated against him for filing grievances about

correctional staff tobacco use by confiscating his sneakers and losing other items of personal

property. The plaintiff also asserts that Intelligence Officer Lamotte issued him a false


                                                    7
         Case 3:16-cv-00674-MPS Document 7 Filed 08/23/16 Page 8 of 14



disciplinary report in retaliation for his complaints about staff using chewing tobacco. The

Second Circuit has “instructed district courts to ‘approach prisoner retaliation claims with

skepticism and particular care, because virtually any adverse action taken against a prisoner by a

prison official—even those otherwise not rising to the level of a constitutional violation—can be

characterized as a constitutionally proscribed retaliatory act.’” Dolan v. Connolly, 794 F.3d 290,

295 (2d Cir. 2015) (quoting Davis v. Goord, 320 F.3d 346, 352 (2d Cir. 2003)). Such claims

must be “‘supported by specific and detailed factual allegations,’ not stated ‘in wholly

conclusory terms.’” Id. (quoting Flaherty v. Coughlin, 713 F.2d 10, 13 (2d Cir. 1983), overruled

on other grounds, Swierkiewicz v. Sorema N.A., 534 U.S. 506 (2002)). To state a First

Amendment retaliation claim, the plaintiff must show “(1) that the speech or conduct at issue

was protected [by the Constitution or federal law], (2) that the defendant took adverse action

against . . . [him], and (3) that there was a causal connection between the protected speech and

the adverse action.” Id. at 294 (internal quotation marks and citation omitted).

       The Second Circuit has repeatedly held that submitting a grievance to prison officials

constitutes conduct that is protected by the Constitution. See Davis v. Goord, 320 F.3d 346, 352-

53 (2d Cir. 2003); Graham v. R.J. Henderson, 89 F.3d 75, 80 (2d Cir. 1996). Although the

plaintiff alleges that he filed grievances with Warden Santiago and Deputy Warden Martin on the

day of his cell search regarding the use of tobacco by correctional staff, he has not made detailed

factual allegations showing the necessary causation between the filing of the grievances and the

alleged confiscation of his sneakers and loss of the other items of his personal property. There

are no facts to suggest that defendants Santiago, Martin, Semple, Murphy, Colby, Muckle,

Kudzan, King, Daly, Field or Rivera confiscated his sneakers or misplaced his other property in


                                                 8
           Case 3:16-cv-00674-MPS Document 7 Filed 08/23/16 Page 9 of 14



retaliation for his filing grievances about tobacco use. Thus, this allegation of retaliatory conduct

on the part of the defendants fails to state a plausible claim under the First Amendment and is

dismissed. See 28 U.S.C. § 1915A(b)(1).

       The retaliation claim against Intelligence Officer Lamotte, however, stands on a different

footing. The plaintiff alleges that on December 29, 2015, Intelligence Officer Lamotte was

responsible for removing all of his personal property from his cell and failing to inventory it. In

addition, he issued the plaintiff a disciplinary report on January 4, 2016 charging the plaintiff

with possessing additional contraband that had been found in his cell on December 29, 2015.

The plaintiff claims that at the time he issued the disciplinary report, Officer Lamotte warned the

plaintiff to “stop messing with our dip.” Compl. at 7. The plaintiff contends that in retaliation

for the grievances that he had submitted regarding tobacco use by prison staff, Officer Lamotte

was responsible for losing or confiscating his Nintendo machine, games, headphones, and

clothing and issuing him a false disciplinary report for possession of contraband. The court

concludes that these more detailed allegations state a plausible claim of retaliation and will

proceed.

       C.      Grievance Procedures

       The plaintiff alleges that the defendants violated his First Amendment rights because they

made it difficult or impossible for him to file grievances. It is well-established that “[i]nmate

grievance programs created by state law are not required by the Constitution and consequently

allegations that prison officials violated those procedures does not give rise to a cognizable §

1983 claim.” Shell v. Brzesniak, 365 F. Supp. 2d 362, 370 (W.D.N.Y. 2005). In addition,

“prisoners do not have a due process right to a thorough investigation of grievances.” Tafari v.


                                                  9
          Case 3:16-cv-00674-MPS Document 7 Filed 08/23/16 Page 10 of 14



McCarthy, 714 F. Supp. 2d 317, 347 (N.D.N.Y.2010) (citing Torres v. Mazzuca, 246 F. Supp. 2d

334, 341-42 (S.D.N.Y.2003) ( “The corrections officers’ failure to properly address [plaintiff’s]

grievances by conducting a thorough investigation to his satisfaction does not create a cause of

action for denial of due process because [plaintiff] was not deprived of a protected liberty

interest.”)).

        The plaintiff states that he filed grievances about his lost/confiscated property and on one

occasion Administrative Remedy Coordinator Daly returned a grievance and directed him to file

a claim with the Lost Property Board. Thus, Coordinator Daly did not prevent the plaintiff from

seeking redress for his complaints within the Department of Correction. Nor are there any other

allegations that conduct by other defendants prevented the plaintiff from asserting and pursuing

grievances or his claims in this action. The court concludes that the claims against the

defendants with regard to their alleged attempts to prevent him from filing grievances do not rise

to the level of a constitutional violation and are dismissed. See 28 U.S.C. § 1915A(b)(1).

        D.      Conspiracy Claims

        The plaintiff generally asserts that the defendants conspired to confiscate his sneakers.

To state a claim for conspiracy under section 1983, the plaintiff must allege facts showing an

agreement between two or more state actors to act in concert to inflict an unconstitutional injury

on plaintiff and an overt act done in furtherance of the conspiracy that causes damages. See

Pangburn v. Culbertson, 200 F.3d 65, 72 (2d Cir. 1999). The Second Circuit has consistently

held that a claim of conspiracy to violate civil rights requires more than general allegations.

“[C]omplaints containing only conclusory, vague, or general allegations that the defendants have

engaged in a conspiracy to deprive the plaintiff of his constitutional rights are properly


                                                 10
          Case 3:16-cv-00674-MPS Document 7 Filed 08/23/16 Page 11 of 14



dismissed; diffuse and expansive allegations are insufficient, unless amplified by specific

instances of misconduct.” Ciambriello v. County of Nassau, 292 F.3d 307, 325 (2d Cir. 2002)

(quoting Dwares v. City of N.Y., 985 F.2d 94, 100 (2d Cir. 1993) (citations, internal quotation

marks, and internal alterations omitted)).

         The plaintiff has asserted no facts from which the court could infer the existence of a

conspiracy by the defendants to confiscate his sneakers. The conspiracy allegation is

conclusory, at best. Accordingly, the plaintiff has not asserted a plausible conspiracy claim

against the defendants and the claim is dismissed. See 28 U.S.C. § 1915A(b)(1).

         E.       Due Process Claim

         The plaintiff claims that on January 4, 2016, Officer Lamotte issued him a disciplinary

report for contraband allegedly found in his cell on December 29, 2015. He claims that the

charge was false and violated Department of Correction Administrative Directives. Prison

officials found the plaintiff guilty of the offense and sanctioned him to ten days of risk reduction

earned credits.

         To state a claim for violation of procedural due process in connection with his placement

in segregation, the plaintiff must show that he had a protected liberty interest and, if he had such

an interest, that he was deprived of that interest without being afforded due process of law. See

Sandin v. Conner, 515 U.S. 472 (1995). He has a protected liberty interest only if the state

created a liberty interest in a statute or regulation and the deprivation of that interest caused him

to suffer an atypical and significant hardship. See Tellier v. Fields, 280 F.3d 69, 81 (2d Cir.

2000).

         In Heck v. Humphrey, 512 U.S. 477 (1994), the Supreme Court held that when a state


                                                  11
         Case 3:16-cv-00674-MPS Document 7 Filed 08/23/16 Page 12 of 14



prisoner seeks damages in a section 1983 action, “the district court must consider whether a

judgment in favor of the plaintiff would necessarily imply the invalidity of his conviction or

sentence; if it would, the complaint must be dismissed unless the plaintiff can demonstrate that

the conviction or sentence has already been invalidated.” Id. at 487. In Edwards v. Balisok, 520

U.S. 641 (1997), the Supreme Court concluded that the holding of Heck applies to a prisoner’s

challenge to the procedures used in a disciplinary proceeding which results in a change to the

prisoner’s sentence, including the loss of accumulated good-time credits. See id. at 648. Thus, a

prisoner may not proceed with a section 1983 action challenging sanctions imposed pursuant to a

disciplinary finding “unless he has shown that the sanction . . . ha[s] been overturned through

administrative channels or by a state or federal court.” Peralta v. Vasquez, 467 F.3d 98, 100 (2d

Cir. 2006), cert. denied, 551 U.S. 1145 (2007).

       Here, the plaintiff alleges that he received a sanction of ten days loss of risk reduction

earned credits. The loss of risk reduction earned credit is a sanction that affects the duration of

the plaintiff’s confinement. See State of Connecticut Department of Correction Administrative

Directive 4.2A(4), available at www.ct.gov/dos/LIB/doc/PDF/AD/ad0402a.pdf (“RREC could

affect an inmate’s discharge date by five (5) days a month if in compliance.”).

       The plaintiff seeks monetary damages for the alleged deprivation of his due process

rights. Any decision that the defendants violated the plaintiff’s due process rights during the

disciplinary hearing would necessarily imply that the sanction of a loss of risk reduction earned

credits was invalid. The plaintiff has not alleged that he has challenged the loss of risk reduction

earned credit in a state habeas or other proceeding or that this sanction has been overturned or

vacated. The due process claim with regard to the loss of risk reduction earned credits is


                                                  12
        Case 3:16-cv-00674-MPS Document 7 Filed 08/23/16 Page 13 of 14



therefore dismissed without prejudice. See 28 U.S.C. § 1915A(b)(1).

       F.      Eighth Amendment Claim

       The plaintiff alleges that inmates have been drying the chewing tobacco discarded by

correctional staff and smoking it. He alleges that he complained about breathing in tobacco

smoke to Warden Santiago and Deputy Warden Martin on December 29, 2015, but they failed to

take action to remedy the situation. The court concludes these allegations state an Eighth

Amendment claim. See Helling v. McKinney, 509 U.S. 25, 35 (1993) (prisoner may state Eighth

Amendment claim by “alleging that [prison officials] have, with deliberate indifference, exposed

him to levels of [environmental tobacco smoke] that pose an unreasonable risk of serious damage

to his future health”). The Eighth Amendment claim will proceed against defendants Santiago

and Martin.

                                            ORDERS

       The Court enters the following orders:

       (1)     The First Amendment retaliation claim will proceed against Intelligence Officer

Lamotte in his individual and official capacities and the Eighth Amendment second-hand smoke

claim will proceed against Warden Santiago and Deputy Warden Martin in their individual and

official capacities. All other claims are DISMISSED pursuant to 28 U.S.C. § 1915A(b)(1).

       (2)     Within twenty-one (21) days of this Order, the U.S. Marshals Service shall

serve the summons, a copy of the complaint and this order on defendants Santiago, Martin and

Lamotte in their official capacities by delivering the necessary documents in person to the Office

of the Attorney General, 55 Elm Street, Hartford, CT 06141.




                                                13
         Case 3:16-cv-00674-MPS Document 7 Filed 08/23/16 Page 14 of 14



        (3)    Within twenty-one (21) days of this Order, the Clerk shall ascertain from the

Department of Correction Office of Legal Affairs the current work addresses for Warden

Antonio Santiago, Deputy Warden Martin and Correctional Officer Lamotte and mail a waiver of

service of process request packet to each defendant in his individual capacity at his current work

address. On the thirty-fifth (35th) day after mailing, the Clerk shall report to the court on the

status of all the requests. If any defendant fails to return the waiver request, the Clerk shall make

arrangements for in-person service by the U.S. Marshals Service and the defendant shall be

required to pay the costs of such service in accordance with Federal Rule of Civil Procedure

4(d).

        (4)    Defendants shall file their response to the complaint, either an answer or motion

to dismiss, within sixty (60) days from the date the notice of lawsuit and waiver of service of

summons forms are mailed to them. If the defendants choose to file an answer, they shall admit

or deny the allegations and respond to the cognizable claims recited above. They may also

include any and all additional defenses permitted by the Federal Rules.

        (5)    Discovery, pursuant to Federal Rules of Civil Procedure 26 through 37, shall be

completed within six months (180 days) from the date of this order. Discovery requests need

not be filed with the court.

        (6)    All motions for summary judgment shall be filed within seven months (210

days) from the date of this order.

        SO ORDERED at Hartford, Connecticut this 23rd day of August, 2016.

                                                     /s/
                                              Michael P. Shea
                                              United States District Judge


                                                 14
